Case 1:23-cv-00975-RGA-SRF               Document 212         Filed 11/21/24       Page 1 of 1 PageID #:
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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

  UNITED THERAPEUTICS                                )
  CORPORATION,                                       )
                                                     )
                            Plaintiff                )
                                                     )     C.A. No. 23-975 (RGA) (SRF)
                  v.                                 )
                                                     )
  LIQUIDIA TECHNOLOGIES, INC.,                       )
                                                     )
                            Defendant.               )


              STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME
              TO FILE PUBLIC VERSION OF DISCOVERY LETTER BRIEFS

        IT IS STIPULATED AND AGREED by the parties, subject to the approval of the Court,

 that the time for the parties to file a public version of their discovery dispute letters filed at D.I.

 200 and D.I. 203 is extended to November 27, 2024.

  MORRIS, NICHOLS, ARSHT & TUNNELL LLP                   SHAW KELLER LLP

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  November 21, 2024


 IT IS SO ORDERED, this                   day of November, 2024.



                                                J.
